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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

 IN RE                                                        *    CASE NO. 20-32679
                                                              *
 HORNBECK OFFSHORE SERVICES, INC., et al.                     *    CHAPTER 11
                                                              *
                           Debtors,                           *    JOINTLY ADMINISTERED
                                                              *

                            NOTICE OF ELECTRONIC HEARING

        A hearing is set for August 26, 2020 at 10:30 a.m. prevailing Central Time before Judge

David R. Jones at the United States Court, Houston, Texas to consider:

                Joint Motion for Relief from Automatic Stay filed by Gulf Island Shipyards, LLC
                 and Zurich American Insurance Company and Fidelity & Deposit Company of
                 Maryland

Electronic Appearances

        Please note that on March 24, 2020, through the entry of the Court’s Orders related to its

Invoking Emergency Protocol (G.O. 2020-4, -10, -10A, -11, -17, -18 and -19). The Orders may

be                                            found                                            at:

https://www.txs.uscourts.gov/sites/txs/files/Bankruptcy%20General%20Order%202020-

04%20Adoption%20of%20Contingency%20Plan_0.pdf.

        Therefore, all persons who appear telephonically and also may appear via video at this

hearing using the Court’s electronic conference systems.

        The Court will simultaneously use two technology methods to conduct electronic hearings.

One method will provide audio communication. The other will provide video access to exhibits

and materials presented to the Court. If a party wants to both view the documents presented to the

Court and hear the proceeding, the party must 1) dial in through the audio system, and 2) log into

the Court’s video via GoToMeeting.



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        Hearing appearances should be made electronically and in advance of the hearing. You

may make your electronic appearances by:

        1)       Going to the Southern District of Texas website;

        2)       Selecting “Bankruptcy Court” from the top menu;

        3)       Selecting “Judges’ Procedures and Schedules”;

        4)       Selecting “View Home Page” for Judge Jones;

        5)       Under “Electronic Appearance” select “Click here to submit electronic
                 appearance;”

        6)       Select Hornbeck Offshore Services, et al., Case No. 20-32679 from the list of
                 electronic appearance links, and

        7)       After selecting Hornbeck Offshore Services, et al., Case No. 20-32679 from the list,
                 complete the required fields and hit the “Submit” button at the bottom of the page.

        Submitting your appearance electronically in advance of the hearing will negate the need

to make an appearance on the record at the hearing.

Audio Communication

        Audio communication will be conducted by use of the Court’s regular dial-in number: 832-

917-1510. At the start of the call, the caller will be asked to enter a six-digit conference code. The

six-digit conference code for the hearing is Judge Jones’ conference room number 205691. Each

caller shall be responsible for its own long-distance charges.

        Parties are encouraged to review the Court’s procedures for telephonic appearances located

at https://www.txs.uscourts.gov/sites/txs/files/Court%20Procedures%20-%XXX-XX-XXXX.pdf.

        Attorneys, witnesses and parties-in-interest wishing to participate in the hearing must

connect to each hearing by audio communication. Any person who wishes to attend the hearing

may also dial in to the audio conference dial-in number.




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        Each person who speaks at the electronic hearing should be prepared to restate that person’s

name each time that the person speaks in order to assist any transcriber of the audio recording.

Video Communications:

        Parties may participate in electronic hearings by use of an internet connection. The internet

site is www.gotomeeting.com.        A GoToMeeting application is available for download to

computers, Chrome is generally recommended. A mobile version of the application is also

available.

        The code for joining this hearing before Judge Jones is “judgejones”. You may also

connect directly by clicking the link on Judge Jones’ home page on the Southern District of Texas

website        (https://www.txs.uscourts.gov/content/chief-united-states-bankruptcy-judge-david-r-

jones). Once connected, click the settings icon in the upper right corner and enter your name under

the personal information setting.

        If any party wishes to offer exhibits, it is recommended that these exhibits be filed on

CM/ECF. Each exhibit should be filed as a separate attachment to an Exhibit List in compliance

with BLR 9013-2.

        Witnesses may not be examined nor evidence offered by telephone/video, except in

emergency situations in which the Court determines sufficient cause exists to waive the

prohibition.

        Copies of any pleadings may be obtained by visiting the Court’s website at

https://ecf.txsb.uscourts.gov in accordance with the procedures and fees set forth therein.




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        Respectfully submitted this 13th day of August, 2020.

                                              /s/ Richard A. Aguilar________
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                                              ATTORNEYS FOR
                                              GULF ISLAND SHIPYARDS



                                CERTIFICATE OF SERVICE

       I hereby certify that on this 13th day of August, 2020, a true and correct copy of the
forgoing Notice of Electronic Hearing was sent via ECF Noticing to all parties registered to receive
CM/ECF Notices in these chapter 11 cases and the following parties via first class mail:

 Hornbeck Offshore Services, Inc.                    Matthew D. Cavenaugh
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                                              /s/ Richard A. Aguilar
                                              Richard A. Aguilar




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